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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION


UNITED STATES OF AMERICA                                                           3:18-CR-00145-SI

                v.                                                            ORDER TO UNSEAL

JAMES KEENAN,

                       Defendant.



       This matter having come before the Court upon the Government's Motion for an order

unsealing the criminal case, arrest warrant, and indictment, and it appearing that the motion has

been made in good faith, the Court finds that it is in the interests of justice to unseal the

materials;

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ORDER TO SEAL                                                                                   Page 1
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       IT IS HEREBY ORDERED THAT the above referenced criminal case and indictment, as

well as the government's motion to unseal, are unsealed.

       DATED t h i s . day of April 2018.




Presented by:

BILLY J. WILLIAMS, OSB # 901366
United States Attorney
District of Oregon

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ORDER TO SEAL                                                                        Page2
